              IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION


VANESSA ANDERSON,
Individually and on Behalf
of a Class of Similarly
Situated Persons,

                                        *
        Plaintiff,
                                        *                            CV 119-008
                                        *
             V.
                                            ■k



WILCO LIFE INSURANCE COMPANY,               *
                                            *


        Defendant.                          *



                                    ORDER




        Before the Court is Defendant Wilco Life Insurance Company's

renewed motion to dismiss.          (Doc.        42. )   For the following reasons,

the motion is granted.




                               I.      BACKGROUND



A.    Procedural History


        Plaintiff Vanessa Anderson is a Georgia citizen residing in

Columbia County, Georgia.      (See Compl., Doc.              1-1, SI 4. )   Plaintiff

filed this action alleging a breach of contract and a breach of

the     implied covenant   of good faith and fair dealing on her own

behalf and on behalf of those similarly situated.                      (See generally

id. )    These allegations are based on Defendant's large increases
to the   cost of insurance       premiums,   increases    which   Plaintiff

contends are not permitted under her life insurance policy with

Defendant.   (See id., at 17-19.)     Defendant is an insurance company

domiciled in Indiana and removed this case pursuant to the Class

Action Fairness Act ("CAFA"), 28 U.S.C. §§ 1332(d), 1453(b), 1711-

1715, and traditional diversity jurisdiction.            (See Compl., SI 5;

Notice of Removal, Doc. 1, at 1, 3-6.)


     Plaintiff moved to remand to state court, arguing that CAFA's

$5 million amount in controversy threshold was not met.           This Court

granted the motion to remand, but the United States Court of

Appeals for the Eleventh Circuit reversed and remanded; it ruled

that the face    value   of the insurance     policy is the       amount in

controversy and thus the amount in controversy threshold was met.

(See Doc. 40, at 20.)         The case is again before this Court as

Defendant moves to dismiss the Complaint for failing to state a

claim.


B. The Insurance Policy


     This    Court's   June   20,   2019   Order   explains   the   general

operation of the ^'Universal Life" insurance policy at issue.          (See

Order of June 20, 2019, Doc. 32, at 2-5.)           The grounds on which

Defendant may increase certain Cost of Insurance (""COI") rates are

at issue in the pending motion.
     Page four of the policy is titled ''Policy Data Page," and

consists   of   a   table   of "Guaranteed    Monthly   Cost   of   Insurance

Rates."    (See Insurance Policy, Doc. 22-1, at 4.)^                The table

relates the insured's attained age, the policy year, and a COI

rate per $1,000.      (See id.)   Below the table, a paragraph reads in

relevant part:


     Actual monthly cost of insurance      rates will be
     determined by the company based on the policy cost
     factors described in your policy. However, the actual
     cost of insurance rates will not be greater than those
     shown above.


(Id. (emphasis added).)       This paragraph is hereinafter referred to

as the "Policy Data Page" paragraph.         Plaintiff bases her argument

on the emphasized portion of this paragraph, discussed further

below.



     Page thirteen of the policy contains a provision titled "Cost

of Insurance Rates."        (See id., at 13.)    The provision states in

relevant part:


     The guaranteed monthly cost of insurance rates for the
     policy are based on the insured's sex, attained age and
     premium class on the date of issue. . . . These rates
     are shown on a Policy Data Page.

     Current monthly cost of insurance rates        will be
     determined by the Company. The current monthly cost of
     insurance rates will not be greater than the guaranteed




^ These page numbers refer to those on the policy and not to the
page numbers assigned by CM/ECF.
       monthly cost of insurance rates which are listed on a
       Policy Data Page.


(Id.   (emphasis     added).}       The   first    of   these   paragraphs   is

hereinafter referred to as the ''Guaranteed Monthly Cost" paragraph

and the second as the "Current Monthly Cost" paragraph.


       Finally,    there   is   a   policy    provision    called   "Cost    of

Insurance."       (See id., at 12.)       This provision explains how the

monthly cost of insurance is calculated as a function of the

monthly COI rate, the insured's death benefit at the beginning of

the policy month divided by a constant, and the Accumulation Value^

at the beginning of the policy month.             (See id.)


       Defendant argues that increases in current monthly COI rates

are up to its discretion so long as the rate is not higher than

the guaranteed monthly COI rate.             Plaintiff argues that any COI

rate increase must be "based on the policy cost factors described

in [the] policy," citing to that language in the Policy Data Page

paragraph.    More specifically. Plaintiff contends that Defendant

can only consider sex, attained age and premium class, all of which

relate to "mortality risk," when increasing the monthly COI rate.




2 The definition of the Accumulation Value is not relevant to the
pending motion.
                                II.    LEGAL STANDARD



       A motion to dismiss a complaint does not test whether the

plaintiff      will   ultimately prevail on          the     merits    of the    case.

Rather, it tests the legal sufficiency of the pleading.                     Scheur v.

Rhodes, 416 U.S. 232, 236 (1974), abrogated on other grounds by

Davis V. Scherer, 468 U.S. 183, 191 (1984).                  Therefore, the Court

must accept as true all facts alleged in the complaint and construe

all   reasonable      inferences      in   the   light     most    favorable    to   the

plaintiff.      See Hoffman-Puqh v. Ramsey, 312 F.3d 1222, 1225 (11th

Cir. 2002).      The Court, however, need not accept the pleading's

legal conclusions as true, only its well-pleaded facts.                        Ashcroft

V.    Iqbal,   556    U.S.    662,    677-79     (2009).      When    analyzing      the

sufficiency of a complaint, courts are limited to the "well-pleaded

factual allegations, documents central to or referenced in the

complaint, and matters judicially noticed."                       La Grasta v. First

Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).

       A complaint must "contain sufficient factual matter, accepted

as true, 'to state a claim to relief that is plausible on its

face.'"     Id. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).            The plaintiff is required to plead "factual

content that allows the court to draw                 the reasonable inference

that the defendant is liable for the misconduct alleged."                            Id.

Although there is no probability requirement at the pleading stage,

"something      beyond [a] mere        possibility . . . must          be   alleged."

                                           5
Twombly^ 550 U.S. at 557-58 (citing Duma Pharm., Inc. v. BroudO;.

544 U.S. 336, 347 (2005)).          When, however, based on a dispositive

issue of law, no construction of the factual allegations of the

complaint    will     support      the   cause   of   action,       dismissal   is

appropriate.       See Exec. 100, Inc. v. Martin Cty., 922 F.2d 1536,

1539 (11th Cir. 1991).




                                   III. DISCUSSION



A. Insurance Policies in Georgia

    "Whenever the language of a contract is plain, unambiguous,

and capable of only one reasonable interpretation, no construction

is required or even permissible, and the contractual language used

by the parties must be afforded its literal meaning."                  First Data

PCS, Inc. V. Willis, 546 S.E.2d 781, 784 (Ga. 2001).                  Only when a

contract    is    ambiguous   do    courts   apply    the   rules    of   contract

construction to resolve the ambiguity.            See Citrus Tower Boulevard

Imaging Ctr., LLC v. Owens, 752 S.E.2d 74, 81 (Ga. Ct. App. 2013).

An ambiguous contract "leave[s] the intent of the parties in

question." Id. (quoting Coleman v. Arrinqton Auto Sales & Rentals,

669 S.E.2d 414, 416 (Ga. Ct. App. 2008)).

     Under       Georgia   law,    insurance     contracts    are     interpreted

through the ordinary rules of contract construction with the goal

of ascertaining the intention of the parties.                  See Progressive
Preferred    Ins.   Co.   v.   Brown,    413    S.E.2d     430,   431    (Ga.    1992);

O.C.G.A. § 13-2-3.        When interpreting a particular contractual

provision, it must be considered in the context of the entire

contract.    See Caradigm USA LLC v. PruittHealth, Inc.,                       F.3d    ,

2020 WL 3886018 (11th Cir. 2020) (citing O.C.G.A. § 13-2-2(4)).

The Court must read an insurance policy ""as a layman would read it

and not as it might be analyzed by an insurance expert or an

attorney."    U.S. Fire Ins. Co v. Hilde, 322 S.E.2d 285, 288 (Ga.

Ct. App. 1984) (quotation omitted).              Finally, any ambiguity in an

insurance policy will be construed against the drafter.                    (See id.)

B. The Universal Life Policy and Its CGI Provisions

      This case revolves around the interpretation and interaction

of three paragraphs in the Universal Life insurance policy.                           The

three paragraphs relate to how the CGI rates are determined and

are included in relevant part above.                 Defendant argues that the

Current Monthly Cost paragraph explicitly permits it to determine

the monthly cost so long as it is no greater than the guaranteed

monthly cost.       Defendant notes that the factors in the Guaranteed

Monthly Cost paragraph - sex, attained age, and premium class -

apply only to the calculation of the guaranteed monthly CGI rate

and not to the current monthly CGI rate.

      Plaintiff interprets the policy differently.                 She argues that

the ''based on" language in the Policy Data Page paragraph permits

CGI   rate   changes   only when        based   on   the    policy      cost    factors
described in the policy.               She then argues that the only policy

cost   factors     present       in    the   policy      are     those    found    in    the

Guaranteed      Monthly    Cost       paragraph,       namely,    the    insured's      sex,

attained    age,   and    premium       class     on    date    of   issue.       Finally,

Plaintiff    alleges      that    Defendant       increased       the    COI    rates   for

reasons other than those three "'mortality factors."                           (See PI.'s

Resp. to Def.'s Mot, to Dismiss, Doc. 50, at 7-8.)

       Courts    have     reached       varying        conclusions       in    considering

similar    disputes      involving       universal       life    insurance       policies.

Compare Coffman v. Pruco Life Ins. Co., No. lO-CV-03663, 2011 WL

4550152, at *3 (D.N.J. Sept. 29, 2011) (interpreting insurance

policy to give discretion to insurer when calculating costs so

long as the cost was below the guaranteed rate.); Baymiller v.

Guarantee Mut. Life Co., No. SA CV 99-1566, 2000 WL 1026565, at *2

(C.D. Cal. May        3, 2000.) (interpreting insurance                       policy    with

monthly and guaranteed rate structure to give insurer discretion

when determining rates below guaranteed rate); with Fleisher v.

Phoenix Life Ins. Co., 18 F. Supp. 3d 456, 470-71 (S.D.N.Y. 2014)

(interpreting "based on" to require insurer to use only factors

included in policy when determining rates); Voqt v. State Farm

Life Ins. Co., 963 F.3d 753, 763-64 (8th Cir. 2020) (same).

       There are other cases beyond those listed above that have

discussed the issue.         However, the policies in the cases Plaintiff

relies on for her reading of the phrase "based on" share a crucial
similarity that distinguish them from the policy in this case.

The provisions in those policies governing how the monthly or

current cost rate is determined explicitly include language that

the rate will be based on mortality or other factors included in

that provision.     The policy in this case does not.

     There is only one reasonable reading of the policy in this

case: The current monthly COI rate is, as stated in the policy,

^'determined by the Company," so long as it is not greater than the

guaranteed monthly COI rate.          It is the guaranteed COI rate that

is "based on the insured's sex, attained age and premium class on

the date of issue."        The Policy Data Page's language relating to

"policy cost factors described in your policy" cannot be read to

graft    the   mortality    factors    in   the   Guaranteed     Monthly   Cost

Paragraph onto the Current Monthly Cost paragraph.                 Under this

unambiguous reading the Complaint fails to state a claim because

it was within Defendant's discretion to determine monthly COI rates

below the guaranteed rate.

        Finally,   to   the    extent       Plaintiff   argues     that    this

interpretation renders the Policy Data Page paragraph meaningless,

that is not so.         The Policy Data Page paragraph notifies the

insured that his or her actual monthly COI rate may be different

from the guaranteed rates shown in the table, and that the policy

will explain how the actual rate is determined.           And, as the Court

has concluded, the plain language of the Current Monthly Cost
paragraph    gives   Defendant   discretion   to   increase   monthly   COX

rates.




                             IV.    CONCLUSION



        Upon the foregoing. Defendant's motion to dismiss (Doc. 42)

is GRANTED.     The Clerk is directed to TERMINATE all remaining

motions and deadlines, if any, ENTER JUDGMENT dismissing all of

Plaintiff's claims with prejudice, and CLOSE this case.


     ORDER ENTERED at Augusta, Georgia this /J^dav of
2020.


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                                         . EfANDlAL^HALL/l2SlEF JUDGE
                                         INITJJ7 STATES DISTRICT COURT
                                         SOUTHERN   DISTRICT OF GEORGIA




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